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Specialty Publishers

The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

Re: Ross McLellan

Dear Judge Sorokin:

My name is Alex Mills and my wife is Sarah Mills. We have lived aff in
Hingham since 2005.and reside in the same neighborhood as Ross and Lisa McLellan. We have

been close friends and have known their children, a and for most

of that time.

I consider Ross to be a close friend and one of great character, wit, humor and empathy. I
have spent many an evening watching Bruins games with Ross, often at his home. During those
times, I’ve personally witnessed his love for and devotion to his children, often joking with them
over allegiances to other teams, or cleverly relating events in the game to things he’s witnessed
in their budding sports careers. As a father of two girls myself, I’ve also witnessed on many
occasions the unique connection between Ross and {that only a father and daughter can
share.

The McLellans have graciously opened their home to neighbors on the Fourth of July for as
long as I can recall, offering their modest pool to all the neighborhood kids. Ross’s commitment
to their enjoyment of this day has led to a lasting tradition where, standing in the pool, Ross
tosses a football to the kids who patiently line up—one by one—to jump from the diving board in
an attempt to secure a catch. Other parents may come and go from the pool during this “contest,”
or socialize among themselves, but Ross will stay in the pool throwing ball after ball all the
while offering an entertaining play-by-play. Lisa has joked that Ross’s shoulder has been sore for
a week after these gatherings. | can attest that our two girls i 15 and QM 13) have
looked forward to this tradition since they were very young. Despite circumstances, Ross was in
the pool again this year, ensuring that this Fourth was the Fourth we have all come to cherish.

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Judge Sorokin my name is Sarah Mills, Alex’s wife. I wanted offer an anecdote involving
Ross that crystalizes for me Ross’s character. Some years ago my husband was at the hospital
with my father-in-law who was, at the time, quite ill. Alex had called to tell me that his mother
was going to come stay the night with us to be closer to the hospital in case of an emergency
involving his father. Our guest room bed was at the time “on loan” at a neighbor’s house, and I
could not collect it and set it up for her on my own. After speaking with a next-door neighbor, it
was Ross who showed up a short time later, having heard through the “grapevine” that I needed
help. Ross has never met my in-laws. Alex wasn’t even home. Yet there he was. I have
subsequently seen him routinely put others first before himself.

Thank you in advance for your consideration.

Sincerely,

Aijhlee Sob.C

Alex and Sarah Mills
